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                           IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION

    CORTNÉ MAREESE ROBINSON,                              §
                                                          §
                   Petitioner,                            §
                                                          §
    v.                                                    § CAUSE NO. 1:17-cv-00011-RWS
                                                          §
    BOBBY LUMPKIN, Director, Texas                        §
    Department of Criminal Justice, Correctional          § CASE INVOLVING THE DEATH
    Institutions Division,                                § PENALTY
                                                          §
                   Respondent.                            §


         PETITIONER’S REPLY IN SUPPORT OF MOTION TO EXCEED PAGE LIMIT

           Petitioner Cortné Robinson has sought leave to file an amended petition for writ of

habeas corpus not to exceed 175 pages. Respondent Director Bobby Lumpkin opposes Mr.

Robinson’s three-page motion in a seven-page response. Resp. in Opp. (Opp.), ECF No. 88. Mr.

Robinson offers the following short reply.

           First, contrary to the Director’s suggestion, Mr. Robinson has shown that his case

warrants a departure from the page-limit rule under the unique circumstances presented. See

Opp. at 7 (“Robinson’s run-of-the-mill arguments, if accepted, are applicable to virtually all

death-penalty cases”). This Court has previously recognized that Mr. Robinson’s case warranted

exceeding ordinary page limitations. ECF No. 34 (granting leave to file 115-page initial

petition); ECF No. 58 (granting leave to file 60-page reply). 1 This Court recognized these

departures were justified “in light of … the number and complexity of important issues raised”

by the petition and answer. ECF No. 58. Moreover, this Court concluded that three of Mr.


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  Notably, the Director’s position would provide far fewer pages than this Court has previously allowed. The
Director would agree to no more than five (5) pages. Opp. at 6. This Court authorized fifteen (15) additional pages
for the initial petition, ECF No. 34, and thirty (30) additional pages for the reply, ECF No. 58.
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Robinson’s unexhausted claims had sufficient merit to warrant a stay and abeyance of federal

habeas proceedings. ECF No. 67 (finding Petitioner’s Claims 1, 2, and 8 have “arguable merit”).

         Second, the Director demands Mr. Robinson bear an impractical burden to receive an

enlargement of the page limit. He contends that Mr. Robinson should have filed a much longer

motion enumerating the “specific claims” he seeks to expand and the specific “issues and factual

developments” he intends to raise. Opp. at 4, 5. This approach defies the common experience of

courts and practitioners. 2 Under the Director’s approach, motions requesting leave to exceed a

page limitation would become detailed previews of the very pleadings they discussed, opening a

party’s still-developing work-product to opposing counsel’s attacks. This would defeat the

purpose of Mr. Robinson’s good-faith effort to raise the page-limitation issue two weeks before

the filing deadline.

         Third, the Director improperly transforms Mr. Robinson’s motion about page limits into a

battle over contested legal arguments that should be raised in the Director’s responsive pleading.

Cf. Order, ECF No. 84 (allowing Mr. Robinson to amend petition despite Director’s opposition

over “scope of amendment”). For example, the Director asserts that Mr. Robinson cannot adduce

new evidence in support of any claims of ineffective assistance of counsel at the penalty phase.

Opp. at 5-6 (citing—without elaboration—Cullen v. Pinholster, 563 U.S. 170 (2011)). And the

Director suggests Mr. Robinson should only be permitted to add new evidence that he presented

in his state subsequent writ proceeding. Opp. at 5. These arguments are not supported by law or

fact. (Counsel for the Director—who also served as attorney pro tem in the subsequent writ

proceeding—overlooks the fact that Mr. Robinson’s subsequent writ application did expand his


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 In fact, two of the Texas district court orders the Director relies on permitted enlargement of page limitations for
petitions similar to what Mr. Robinson seeks here. Order, Cade v. Davis, No. 3:17-CV-03396G (N.D. Tex. Mar. 4,
2019), ECF No. 66 (authorizing 190 pages for amended petition); Order, Cummings v. Davis, No. 6:18-cv-00125-
ADA, (W.D. Tex. Mar. 26, 2019), ECF No. 30 (authorizing 160 pages for petition).


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arguments and allegations on his previously unexhausted claims.) The Director can explain his

position on these disputed legal questions in due course. Until then, the Director’s doubtful views

should not foreclose Mr. Robinson’s opportunity to make an adequate presentation of the

numerous constitutional violations arising from his death-penalty trial.

       For these reasons, Mr. Robinson respectfully requests leave to file an amended petition

not to exceed 175 pages.

                                                     Respectfully submitted,
                                                     MAUREEN FRANCO
                                                     Federal Public Defender
                                                     Western District of Texas

                                                      /s/ Joshua Freiman
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                                                     Counsel for Petitioner

DATED: March 30, 2021




                                CERTIFICATE OF SERVICE

I hereby certify that on the 30th day of March, 2021, I electronically filed the foregoing reply
with the Clerk of Court using the CM/ECF system which will send notification of such filing to
the following:

Garrett Greene
Texas Attorney General - Austin
300 West 15th Street
Austin, TX 78701-1220
                                             /s/ Joshua Freiman




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